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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 14-CV-24887-LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION,

  Request for Discovery Pursuant to
  28 U.S.C. § 1782
   _________________________________/

          ORDER DIRECTING CLERK TO FILE UNDER SEAL EX PARTE EMAIL
        COMMUNICATION RECEIVED PURSUANT TO STIPULATED PROTECTIVE
                            ORDER (ECF NO. 224)

          This cause is before the Court sua sponte. It is hereby ORDERED AND ADJUDGED

  that the Clerk of the Court shall file under seal the ex parte email communication, produced to

  the Court pursuant to Section 6(f) of the Stipulated Protective Order (ECF No. 224).

          DONE AND ORDERED in chambers in Miami, Florida, on October 25, 2018.




                                                      LAUREN LOUIS
                                                      UNITED STATES MAGISTRATE JUDGE




  cc:     Sealing Clerk
          All counsel of record




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